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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT
                                 New Haven Division

                                         :
In re                                    :     CASE NO. 17-31672 (AMN)
                                         :
FRANKLYN G. HEUSSER                      :     (Chapter 13)
                                         :
               Debtor.                   :
                                         :     APRIL 10, 2018


              NOTICE OF APPEARANCE AND REQUEST FOR NOTICE


        PLEASE TAKE NOTICE that the undersigned appears as counsel for the

Ansonia Water Pollution Control Authority (“WPCA”), a creditor in the above-referenced

bankruptcy case. Pursuant to §§ 102(1), and 342 of the United States Bankruptcy Code

and Bankruptcy Rules 2002, 9007 and 9010, counsel for the WPCA requests that all

notices given/served or required to be given/served in this case or in any proceeding

herein to be given to or served on the undersigned attorney.

                                         CREDITOR – ANSONIA WATER
                                         POLLUTION CONTROL AUTHORITY


                                         By /s/ Sarah Gruber__________
                                            Taruna Garg – ct28652
                                            Sarah Gruber – ct29918

                                         Murtha Cullina LLP
                                         CityPlace I - 185 Asylum Street
                                         Hartford, Connecticut 06103-3469
                                         Telephone: 860.240.6000
                                         Facsimile: 860.240.6150
                                         Its Attorneys
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 10, 2018, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of

this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing

system or by mail to anyone unable to accept electronic filing.

                                                    /s/ Sarah Gruber
                                                    Sarah Gruber
